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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

Allen Peterson,                             )   Civil No. 0:19-cv-83
                                            )
                            Plaintiff,      )   Judge:
                                            )
             v.                             )   Magistrate:
                                            )
Minnesota Vikings Football Stadium,         )
LLC, and Minnesota Vikings Football,        )
LLC,                                        )
                                            )
                            Defendants.     )

                  COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW the plaintiff and, for his complaint against the defendants,

alleges as follows:

                       Parties, Jurisdiction, and Background Facts

      1.     Allen Peterson (“Peterson”) is a resident of Montana.

      2.     Minnesota Vikings Football Stadium, LLC (“Stadium”) is a Delaware

limited liability company that does business in Minnesota and has its principal

office in St Paul, Minnesota.

      3.     Minnesota Vikings Football, LLC (“Vikings”—which will be referred to

in the plural herein, although it is a singular corporate entity) is a Delaware limited

liability company that does business in Minnesota and has its principal office in St

Paul, Minnesota.

      4.     The events giving rise to this lawsuit took place in Minneapolis,

Minnesota.

      5.     The amount in controversy exceeds $75,000.00.


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      6.      This court has jurisdiction over the parties because the causes of action

arise from an incident that took place in Minnesota and because the defendants

have their principal places of business in Minnesota.

      7.      This court has jurisdiction over the causes of action under 28 U.S.C. §

1332(a)(1).

      8.      This is the proper venue for this action under 28 U.S.C. 1391(b)(2).

      9.      Stadium owns, occupies, operates, and/or controls premises in

Minneapolis, Minnesota, at which there is a facility commonly known as U.S. Bank

Stadium, at which the game of American gridiron football is occasionally played.

      10.     At all relevant times, the Vikings occupied, operated, and/or controlled

U.S. Bank Stadium.

      11.     The Vikings are the home team that occasionally plays American

gridiron football at U.S. Bank Stadium.

      12.     On or about August 28, 2016, Peterson was on the U.S. Bank Stadium

premises, in possession of a ticket to see the Vikings play their first-ever home

game in the then-brand-new U.S. Bank Stadium.

      13.     Peterson tripped on an unmarked, black, concrete support for a crowd-

control fence on the U.S. Bank Stadium premises.

      14.     Peterson fell down and was injured as a result of tripping on the fence

support.

      15.     Peterson was not able to attend any part of the August 28, 2016, game

between the Vikings and the San Diego Chargers, to which he had a ticket, at which



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the Vikings actually did play an entire game of American gridiron football, and

which the Vikings won by a score of 23 to 10. Peterson was not able to join the

enthusiastic crowd, including members of his own family with whom he was

travelling, in chanting SKOL at this historic Vikings win.

      16.    Peterson has suffered and will in the future suffer economic and

noneconomic damages as a result of his injuries, in an amount to be proved at trial

but not less than $500,000.00.

                                 Count I – Negligence

      17.    The foregoing allegations are incorporated herein by reference.

      18.    The defendants owed a duty to exercise reasonable care so as not to

injure Peterson or place him in the way of harm.

      19.    The defendants breached their duty of care.

      20.    The defendants’ breach of their duty of care directly and proximately

caused Peterson to suffer damages in an amount to be proved at trial.

                           Count II – Premises Liability

      21.    The foregoing allegations are incorporated herein by reference.

      22.    The defendants controlled the premises where Peterson was injured.

      23.    The defendants failed to make the premises reasonably safe and/or

reasonably to warn Peterson of the dangerous condition that existed thereon.

      24.    Peterson was injured by the dangerous condition on the premises.

      25.    Peterson’s injury directly and proximately caused him to suffer

damages in an amount to be proved at trial.



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                          Prayer for Relief

WHEREFORE Peterson prays for relief as follows:

            1. For judgment against the Defendants for his past and future
               economic and noneconomic damages in an amount to be
               proved at trial but not less than $500,000.00;

            2. For his costs, disbursements, and, if and to the extent
               allowed by applicable law, reasonable attorney fees herein;
               and

            3. For such other relief as the Court deems just and owing in
               the circumstances.

Dated this 11th day of January, 2019.



                                         /s/ Ariston E. Johnson
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